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                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF RHODE ISLAND

  JANE DOE                                       :
                                                 :
  vs.                                            :         C.A. No. 1:22-cv-00441-JJM-LDA
                                                 :
  TOWN OF SOUTH KINGSTOWN by and                 :
  through its Treasurer/Finance Director         :
  ZACHARY SAUL, ROBERT C. ZARNETSKE :
  and his successors solely in their capacity as :
  Town Manager of the Town of South Kingstown; :
  AIMEE REINER and her successors solely in :
  their capacity as Director of Administrative   :
  Services of the Town of South Kingstown, and :
  JOHN DOE DEFENDANTS 1-5                        :

                     DEFENDANTS’ STATEMENT OF UNDISPUTED FACTS

                 Pursuant to Local Rule – Civil 56, the defendants contend that the following facts

  are undisputed and entitle the defendants to judgment as a matter of law.

                 1. Plaintiff began her employment as a dispatcher for the South Kingstown Police

  Department in July 2018, and became a full-time dispatcher in February 2019. See plaintiff’s

  complaint paragraphs 9, 12.

                 2. Plaintiff worked third shift, and during some of the nights that she worked, Lt.

  Scott Orton was the officer in charge of the shift.

                 3. Plaintiff alleges that between February 2019 and July 2019, Lt. Orton engaged

  in conduct that was inappropriate and constituted sexual harassment of her. See Exhibit A,

  plaintiff’s answer to Interrogatory No. 8, and Exhibit B, Investigative Report No. 19-5-IA (South

  Kingstown 0045).

                 4. The first time that plaintiff complained concerning Lt. Orton’s conduct was in

  December 2019 after she learned that he would be returning to work from leave. She made her

  complaint to Lt. Houghton and Sgt. Dolock. See Exhibit B (South Kingstown 0044).
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              5. Lt. Orton was placed on administrative leave on July 13, 2019 pending an

investigation of a report of misconduct by Sgt. Michael Bronson.

              6. Plaintiff’s complaint regarding Lt. Orton’s conduct was passed up the chain of

command to Chief Joseph Geaber on December 16, 2019. Based upon the plaintiff’s complaint,

Chief Geaber immediately placed Lt. Orton on administrative leave pending an Internal Affairs

investigation of plaintiff’s complaint. See Exhibit B (South Kingstown 0044).

              7. Prior to the conclusion of the internal investigation, Lt. Orton resigned from

the South Kingstown Police Department effective December 31, 2019. See Exhibit B (South

Kingstown 0056).

              8. Plaintiff continued working as a dispatcher until she resigned in July 2022.


                                               TOWN OF SOUTH KINGSTOWN, ROBERT
                                               ZARNETSKE, AND AIMEE REINER
                                               By their attorney,


                                               /s/Mark T. Reynolds
                                               Mark T. Reynolds, Esquire #4764
                                               REYNOLDS, DeMARCO & BOLAND, LTD.
                                               400 Westminster Street, Suite 55
                                               Providence, RI 02903
                                               (401) 861-5522
                                               Fax: (401) 331-4861
                                               mtreynolds@rdblawfirm.com




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                                       CERTIFICATION

                I hereby certify that on the 22nd day of October, 2024, this document was filed
electronically and is available for reviewing and downloading from the ECF System and a copy
was served by electronic mail to the following counsel of record:

John A. Donovan III, Esquire
jdonovan@sloanewalsh.com

Hayley C. Johnston, Esquire
hjohnston@sloanewalsh.com


                                               /s/Mark T. Reynolds




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